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                         Exhibit 1
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       1                    UNITED STATES DISTRICT COURT

       2                     EASTERN DISTRICT OF MICHIGAN

       3                           SOUTHERN DIVISION

       4

       5    ------------------------------) Civil Action No.:

       6    IN RE:     FLINT WATER CASES           ) 5:16-cv-10444-JEL-MKM

       7                                           ) (consolidated)

       8                                           )

       9                                           ) Hon. Judith E. Levy

      10    ------------------------------) Mag. Mona K. Majzoub

      11

      12                          HIGHLY CONFIDENTIAL

      13            VIDEOTAPED DEPOSITION OF MARC EDWARDS, PH.D.

      14

      15                         FRIDAY, AUGUST 7, 2020

      16                                  Volume 1

      17

      18            Remote oral deposition of MARC EDWARDS, PH.D.,

      19    conducted at the location of the witness in

      20    Blacksburg, Virginia, commencing at approximately 9:06

      21    a.m., on the above date, before JULIANA F. ZAJICEK, a

      22    Registered Professional Reporter, Certified Shorthand

      23    Reporter, Certified Realtime Reporter and Notary

      24    Public.

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       1    from people and I've -- I've told everyone I'm not a

       2    party to this lawsuit.

       3           Q.     Understood.      You are not a party.        You are

       4    here purely as a fact witness.

       5                  Do you understand that, Dr. Edwards?

       6           A.     Yes.

       7           Q.     Okay.    And have you talked to anybody that

       8    you understood to be a representative of Veolia North

       9    America with regard to Flint water matters --

      10           A.     Ever.

      11           Q.     -- whether it's counsel -- yes, sir.

      12           A.     Yes, I did.

      13           Q.     And who did you speak to that you

      14    understood to be a representative of Veolia?

      15           A.     I don't remember.

      16           Q.     When did that communication take place?

      17           A.     I don't remember.

      18           Q.     And did you exchange e-mails with the

      19    Veolia person you communicated with?

      20           A.     I don't remember.

      21           Q.     Can you provide us the approximate

      22    timeframe of these communications?

      23           A.     It was a long time ago.

      24           Q.     Okay.    Have you talked to anybody you

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        1                  And your answer was:        "Yes."

        2                  Do you remember that question and answer?

        3          A.      Yes.

        4          Q.      That's true, isn't it, from your

        5    perspective?

        6          A.      I believe --

        7          MR. CAVANAGH:      Object to foundation, Cavanagh.

        8    BY THE WITNESS:

        9          A.      I believe it to be true, yes.

       10    BY MR. CAMPBELL:

       11          Q.      Okay.    So going back to the Lead and

       12    Copper law, the whole purpose of that law is a health

       13    protective one, is it not?

       14          MR. REY:     Objection; foundation.         Rey.

       15    BY THE WITNESS:

       16          A.      Yes.

       17    BY MR. CAMPBELL:

       18          Q.      So the whole intent and purpose of the

       19    Lead and Copper law is to -- to minimize the exposure

       20    of end users of drinking water, correct?

       21          MR. REY:     Objection; foundation.

       22    BY THE WITNESS:

       23          A.      Yes, within constraints.

       24    BY MR. CAMPBELL:

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        1           Q.     Okay.    The -- the target of the law in

        2    terms of protection is the end user of the drinking

        3    water, correct?

        4           A.     Yes.

        5           Q.     And the -- and the way that the lead and

        6    copper law operates is to focus in on the quality and

        7    content of the drinking water at the end user's tap,

        8    correct?

        9           A.     Yes.

       10           Q.     And -- and throughout this litigation we

       11    have heard from the MDEQ over and over again, and to a

       12    certain extent maybe even from the City of Flint

       13    officials, that the drinking water at the Flint Water

       14    Treatment Plant, at the exit portal of that plant, was

       15    free of any significant lead or copper contamination,

       16    and they have expressed that as a justification for

       17    their compliance with the Lead and Copper law.

       18                  But that would be wrong headed, wouldn't

       19    it?

       20                       (Simultaneous talking.)

       21           MR. PATTWELL:     Objection to the form,

       22    foundation.     Misstates evidence.

       23           MS. JACKSON:     Objection; Jackson.

       24    BY THE WITNESS:

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        1          A.      Assuming that argument was made, which I

        2    also heard over the years, it seems to be highly

        3    misleading to me.

        4    BY MR. CAMPBELL:

        5          Q.      So, with the City of Flint, there was the

        6    Flint Water Treatment Plant that after April of 2014

        7    began utilizing raw water from the Flint River, it --

        8    it treated that water in some fashion but -- but

        9    without any optimized corrosion control treatment, and

       10    then it discharged that water through a distribution

       11    system that ultimately would deliver the water to the

       12    end user's tap.

       13                  You understand that concept of a

       14    distribution system, don't you, sir?

       15          A.      Yes.

       16          Q.      And the distribution system is made up of

       17    water mains, large and small, service lines that run

       18    from the so-called corp, c-o-r-p, stop at the water

       19    main to the curb stop under the sidewalk or at the

       20    property line for the premise owner.            And then

       21    another -- another service line from the curb stop

       22    into the resident's home or structure.

       23                  Do you understand that sort of layout of a

       24    distribution system?

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        1           A.     Yes.

        2           Q.     The treatment of drinking water for the

        3    purpose of minimizing exposure of end users to lead

        4    and copper is done with the realization that some

        5    parts of the distribution system are owned by the

        6    public water supply and some parts are owned by the

        7    end user, correct?

        8           A.     Yes.

        9           Q.     It really doesn't matter, does it, who

       10    owns the portion of the distribution system if the end

       11    goal is to minimize the exposure of the end user to

       12    lead and copper in water that's in the system, does

       13    it?

       14           MR. CAVANAGH:     Object to form and to the extent

       15    that it calls for a legal conclusion.             Cavanagh.

       16    BY THE WITNESS:

       17           A.     In a practical sense in terms of the

       18    health harm done, it doesn't matter where the lead

       19    comes from, no.

       20    BY MR. CAMPBELL:

       21           Q.     Okay.    Let's just move on to Page 57 and

       22    58 of Exhibit 20, please.

       23                  And on Page 57 you were asked this

       24    question:

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        1    know who retained LAN to do work in the City of Flint,

        2    do you?

        3          A.      No.

        4          Q.      I'll represent to you that the City of

        5    Flint actually retained LAN to do work on the Flint

        6    Water Treatment Plant from 2013 to 2015.

        7                  Fair enough?

        8          A.      Fair enough.

        9          Q.      Okay.    And so as you are talking about

       10    ethical responsibilities on that end, if I'm hearing

       11    you correctly, if LAN -- LAN had learned of something

       12    that was concerning to it, it had a duty to raise that

       13    to its client, correct?

       14          A.      Yes.

       15          Q.      And that could be outside the scope of its

       16    work, correct?

       17          A.      Yes, yes.

       18          Q.      And so LAN would, at least with regard to

       19    learning of a problem in the City of Flint, their

       20    ethical responsibility would only be to go to the City

       21    itself, correct?

       22          MR. CAVANAGH:      Object to the extent --

       23    BY THE WITNESS:

       24          A.      That -- that would be, under the code of

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        1    ethics that would be correct.

        2    BY MR. GAMBLE:

        3          Q.      You -- you've -- have you heard any --

        4    well, strike that.

        5                  Do you -- I take it from your lack of

        6    understanding of LAN that you don't recall ever having

        7    any communications with anyone from LAN?

        8          A.      No.

        9          Q.      And I think before you testified, you're

       10    a -- you're not a licensed professional engineer, is

       11    that correct?

       12          A.      No, I'm not.

       13          Q.      And you're -- you're not a design

       14    engineer, right?

       15          A.      No.

       16          Q.      And you've never sealed any designs for a

       17    water treatment plant or any other facility?

       18          A.      No.

       19          Q.      And it's fair to say that you don't have

       20    an understanding as to what LAN did or did not do in

       21    Flint during its work from 2013 to 2015?

       22          A.      I mean, I don't know what the scope was.

       23    I read that report.        And the report was online in

       24    2015, so I -- I know what they did under that report

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        1          Q.      And it is a -- at least the top e-mail is

        2    from you to Mr. Croft, copied to Mr. Glasgow, and your

        3    first sentence says:

        4                  "Excellent.      I know you have been doing

        5    the best you can under circumstances I can only

        6    imagine."

        7                  We've talked about this to some extent,

        8    but can you elaborate to some extent about why you --

        9    you think the circumstances facing the water trant --

       10    treatment plant from the people of the City of Flint

       11    were -- were, as you say, beyond imagination or I can

       12    only imagine?

       13          A.      Yeah, the -- I said September 15th, 2015,

       14    and I'll say it again today, the decision to switch to

       15    that water supply source with a -- without corrosion

       16    control was just an epically bad decision.              The water

       17    was -- coming out of that plant was just impossible to

       18    treat in terms of just things like chlorine, so you

       19    had a whack-a-mole situation where you do something to

       20    fix this and something else would fix that.

       21                  The water as it existed could not possibly

       22    meet all EPA federal regulations, and so here these

       23    people are trying to operate this treatment plant

       24    without this very specialized knowledge, and it's --

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        1    it's impossible.       It was -- it was impossible without

        2    corrosion control to meet all of the federal

        3    regulations.      On top of that you had the consumer

        4    complaints which were all legitimate too.              So it had

        5    to be a horrible, horrible situation for these

        6    individuals.

        7          Q.      Okay.    So, I -- I want to clarify a couple

        8    of things.

        9                  One, just to be clear, when you say it was

       10    impossible, do you mean it was impossible without

       11    corrosion control?

       12          A.      Right.

       13          Q.      Had corrosion control been used, the --

       14    the Flint River could have been treated to be a --

       15    a -- a safe or at least compliant with regulations

       16    water source, is that correct?

       17          A.      It's quite likely they could have met all

       18    of the regulations, yes.

       19          Q.      And you -- you do understand that it was

       20    the DEQ that made the decision to go without corrosion

       21    control, correct?

       22          MR. CAVANAGH:      Object to foundation.

       23    BY THE WITNESS:

       24          A.      Yeah, I have no idea who -- who decided

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        1    and then declined even further as filters were widely

        2    installed.     This means that Flint children were

        3    exposed to extreme lead levels for only a short time

        4    and probably weren't seriously affected, which in turn

        5    should reduce stress levels amongst Flint parents

        6    about how much the lead crisis affected their kids."

        7                  I -- I -- I read that correctly?

        8          A.      Yes.

        9          Q.      Is that your analysis or Mr. Drum's?

       10          A.      That's Mr. Drum's, but I would agree with

       11    it, contrary to my initial beliefs about what

       12    happened.     It's completely consistent with the blood

       13    lead data and it's really hard to argue otherwise.

       14          Q.      Okay.    And -- and in -- in your opinion to

       15    begin to draw any conclusions about the health effects

       16    of lead, you would need to have individualized data

       17    about both the level and duration of exposure?

       18          A.      Yes.    Yeah, I mean, it's -- yeah, you

       19    would.     And, again, the -- the blood lead elevations

       20    of the children which were taken in real-time were not

       21    as bad as people initially feared they were.               So

       22    obviously you have a few cases where children's blood

       23    lead was elevated above 5, the new CDC standard, and

       24    you have excess exposure to lead, but in the grand

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        1    scheme of things that lead exposure historically was

        2    not as bad as initially feared.

        3           Q.     And so along the same vein, I'll ask you

        4    to consider two hypotheticals, one is a -- a child,

        5    but it could be a person, a child is exposed for, say,

        6    14 days to the lead water, to -- to the Flint water

        7    during a high lead period, the other child is exposed

        8    for the entire 18-month duration of the river was in

        9    use.

       10                  Would -- would -- would you expect the

       11    same effects on those two children?

       12           A.     No, I wouldn't, because there is always

       13    genetic differences, there is always susceptibility

       14    differences, so even if they got the same lead dose

       15    you would expect different effects, but the dose also

       16    makes the poison, so the more lead you are -- you are

       17    exposed to the worse the effects should be across the

       18    population.

       19                  So obviously if you got more lead, that's

       20    worse than getting less lead.           None of it is good.

       21    But dose makes the poison.          It is a famous axiom

       22    that's stood for a couple of centuries, so.

       23           Q.     And -- and implicit in dose is duration?

       24           A.     Yes.

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        1           Q.     Moving on to the MDEQ personnel, and it's

        2    now known as EGLE, but I'll just call it MDEQ for

        3    simplicity sake.

        4                  On one of your web pages you thought that

        5    certain resignations of DEQ officials were justified.

        6                  Do you think that there is other MDEQ

        7    employees or officials who should have resigned

        8    following the Flint water crisis?

        9           A.     Yeah, I mean this is obviously areas of

       10    opinion, but I -- I think I documented on the website

       11    sort of the problems that certain MDEQ people had in

       12    dealing with Flint residents, how they treated Flint

       13    residents, the term today was "indifference," "callus

       14    disregard," their covering up of the problem, their

       15    blaming everyone but themselves.           I don't see how

       16    individuals like that can be allowed to continue in

       17    public service and why some deal was made with them to

       18    get them off the hook I -- just boggles the mind to

       19    me.    I mean, I don't get it.

       20           Q.     By "off the hook," do you mean the

       21    criminal prosecutions?

       22           A.     Yeah, the plea deals and now the --

       23    apparently it is expunged from their records and some

       24    of them are back at work, so.           What are you going to

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        1    do.

        2           Q.     Dr. Edwards, you've testified on

        3    February 3rd and March 15th of 2016 in front of the

        4    United States Congress, is that correct?

        5           A.     Yes.

        6           Q.     And I'm just going to paraphrase your

        7    testimony there, is that you put the primary blame for

        8    the Flint water crisis on a few people at the MDEQ.

        9                  Is that still true today?

       10           A.     On the basis of all of the evidence that I

       11    have read and/or produced, that's still true today,

       12    plus EPA for creating the culture in which this was

       13    allowed to occur.       It would not have happened without

       14    both of those elements.

       15           Q.     And you also testified, I'm paraphrasing

       16    you here, is that the MDEQ covered this up and lied to

       17    the EPA.

       18                  In the four years or so that have passed

       19    since your testimony, is that still true today in your

       20    opinion?

       21           A.     Yes.

       22           Q.     In your March 15th, '16 testimony, you

       23    described Susan Hedman -- Hedman as the top policeman

       24    in Region 5.

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        1                   UNITED STATES DISTRICT COURT

        2                    EASTERN DISTRICT OF MICHIGAN

        3                          SOUTHERN DIVISION

        4

        5    ------------------------------) Civil Action No.:

        6    IN RE:    FLINT WATER CASES          ) 5:16-cv-10444-JEL-MKM

        7                                         ) (consolidated)

        8                                         )

        9                                         ) Hon. Judith E. Levy

       10    ------------------------------) Mag. Mona K. Majzoub

       11

       12                         HIGHLY CONFIDENTIAL

       13           VIDEOTAPED DEPOSITION OF MARC EDWARDS, PH.D.

       14

       15                       MONDAY, AUGUST 10, 2020

       16                                Volume 2

       17

       18           Continued remote oral deposition of MARC

       19    EDWARDS, PH.D., conducted at the location of the witness

       20    in Blacksburg, Virginia, commencing at approximately 9:04

       21    a.m., on the above date, before JULIANA F. ZAJICEK, a

       22    Registered Professional Reporter, Certified Shorthand

       23    Reporter, Certified Realtime Reporter and Notary

       24    Public.

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        1    how it would work.

        2    BY MS. JACKSON:

        3          Q.     Okay.    Do you believe that these were

        4    normal circumstances?

        5          A.     No.

        6          Q.     Okay.    What was abnormal about them?

        7          A.     The whole concept of bringing a new

        8    surface water source online quickly while -- while the

        9    system is being run by the State and in a plant that

       10    hadn't been used for, frankly, for decades, without

       11    having enough trained people or thought going into the

       12    process, including testing for corrosivity or

       13    considering corrosivity.

       14          Q.     Do you know whether the Michigan

       15    Department of Environmental Quality prohibited the

       16    City of Flint from implementing the use of

       17    orthophosphates for corrosion control?

       18          A.     No, I'm not aware of the details of the

       19    conversation.

       20          Q.     You've testified, and correct me if I'm

       21    wrong, that the failure to implement corrosion control

       22    or use orthophosphates for corrosion control was

       23    illegal, is that correct?

       24          A.     That is the simplified way I used to

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        1    describe the fact that I don't feel the regulation or

        2    law was being followed.

        3          Q.     Okay.    And specifically what parts of the

        4    law or regulation were not being followed?

        5          A.     The failure to have a corrosion control

        6    plan with the -- with optimal water quality parameters

        7    specified in terms of pH alkalinity and/or specific

        8    dosages of orthophosphate that would prevent a lead

        9    corrosion and other corrosion problems.

       10          Q.     I believe you were earlier shown an e-mail

       11    where you estimated it was approximately $100 a day to

       12    add those orthophosphates.

       13                 Is that a correct statement?

       14          A.     That was the chemical cost, yeah, and

       15    again --

       16          Q.     And you --

       17                 I'm sorry.     Go ahead.

       18          A.     My -- my wording there was to a group of

       19    other experts who, you know, in the grand scheme of

       20    things this is not that difficult, but it's -- it's

       21    not as easy as I portrayed it in the e-mail.

       22          Q.     And are you aware that the Flint Water

       23    Treatment Plant does not have the structure in place

       24    or the -- it doesn't have the equipment to add

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